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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                           No. 15-932V
                                    Filed: February 17, 2016
                                           Unpublished

****************************
KATIE RICE,                               *
                                          *
                     Petitioner,          *      Damages Decision Based on Proffer;
                                          *      Influenza;
                                          *      Shoulder Injury (“SIRVA”);
SECRETARY OF HEALTH                       *      Special Processing Unit (“SPU”)
AND HUMAN SERVICES,                       *
                                          *
                     Respondent.          *
                                          *
****************************
Paul Brazil, Muller Brazil, LLP, Dresher, PA, for petitioner.
Camille Collett, U.S. Department of Justice, Washington, DC, for respondent.

                               DECISION AWARDING DAMAGES 1

Dorsey, Chief Special Master:

       On August 26, 2015, Petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 [the
“Vaccine Act” or “Program”]. Petitioner alleges that she suffered a shoulder injury
following receipt of her October 8, 2014 influenza vaccination. Petition at 1. The case
was assigned to the Special Processing Unit of the Office of Special Masters.

       On January 8, 2016, a ruling on entitlement was issued, finding petitioner entitled
to compensation for a shoulder injury related to vaccine administration (SIRVA). On
February 17, 2016, respondent filed a proffer on award of compensation [“Proffer”]
indicating petitioner should be awarded $70,000.00. Proffer at 1. In the Proffer,
respondent represented that petitioner agrees with the proffered award. Based on the


1 Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012)(Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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record as a whole, the undersigned finds that petitioner is entitled to an award as stated
in the Proffer.

       Pursuant to the terms stated in the attached Proffer, the undersigned awards
petitioner a lump sum payment of $70,000.00 in the form of a check payable to
petitioner, Katie Rice. This amount represents compensation for all damages that
would be available under § 300aa-15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision. 3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.
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                 IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                           OFFICE OF SPECIAL MASTERS


KATIE RICE,

                       Petitioner,

v.                                                    No. 15-932V
                                                      Chief Special Master
SECRETARY OF HEALTH AND                               Nora Beth Dorsey
HUMAN SERVICES,                                       ECF

                       Respondent.


              RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

I.       Compensation for Vaccine Injury-Related Items

         Respondent proffers that based on the evidence of record, petitioner should be awarded

$70,000.00. This amount represents all elements of compensation to which petitioner would be

entitled under 42 U.S.C. § 300aa-15(a). Petitioner agrees.

II.      Form of the Award

         The parties recommend that the compensation provided to petitioner should be made

through a lump sum payment as described below, and request that the special master’s decision

and the Court’s judgment award the following: 1

      A. A lump sum payment of $70,000.00 in the form of a check payable to petitioner, Katie
         Rice. This amount accounts for all elements of compensation under 42 U.S.C. § 300aa-
         15(a) to which petitioner would be entitled.

Petitioner is a competent adult. Evidence of guardianship is not required in this case.



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  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future medical
expenses and future pain and suffering.



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                                   Respectfully submitted,

                                   BENJAMIN C. MIZER
                                   Principal Deputy Assistant Attorney General

                                   RUPA BHATTACHARYYA
                                   Director
                                   Torts Branch, Civil Division

                                   VINCENT J. MATANOSKI
                                   Deputy Director
                                   Torts Branch, Civil Division

                                   ALTHEA WALKER DAVIS
                                   Senior Trial Counsel
                                   Torts Branch, Civil Division

                                   s/Camille M. Collett
                                   CAMILLE M. COLLETT
                                   Trial Counsel
                                   Torts Branch, Civil Division
                                   U.S. Department of Justice
                                   P.O. Box 146
                                   Benjamin Franklin Station
                                   Washington, D.C. 20044-0146
                                   Telephone: (202) 616-4098

Dated: February 17, 2016




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